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13

14                                   UNITED STATES DISTRICT COURT

15                                 NORTHERN DISTRICT OF CALIFORNIA

16                                          SAN JOSE DIVISION

17   MATT JONES; BRYSON DECHAMBEAU;                     Case No. 5:22-cv-04486-BLF
     PETER UIHLEIN; and LIV GOLF, INC.,
18                                                      RENEWED ADMINISTRATIVE
                    Plaintiffs,                         MOTION TO CONSIDER WHETHER
19                                                      ANOTHER PARTY’S MATERIAL
               v.                                       SHOULD BE SEALED REGARDING
20                                                      DKT. 171-1.
     PGA TOUR, INC.,
21                                                      Judge:     Hon. Beth Labson Freeman
                    Defendant.
22                                                      Date Filed: August 3, 2022
                                                        Trial Date: January 8, 2024
23   PGA TOUR, INC.,

24                  Counterclaimant,

25             v.

26   LIV GOLF, INC.,

27                  Counterdefendant.

28


                                  ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                           Case No. 5:22-cv-04486-BLF
     2044451
          Case 5:22-cv-04486-BLF Document 250 Filed 02/03/23 Page 2 of 3



 1   I.        INTRODUCTION

 2             Pursuant to Civil Local Rules 7-11 and 79-5 (f) and the Protective Order entered by this

 3   Court, Dkt. 111, Defendant/Counterclaimant PGA TOUR, Inc. (“the TOUR”) respectfully

 4   submits this Administrative Motion to Consider whether Another Party’s Material Should be

 5   Sealed, regarding certain redacted portions of Exhibit A to the joint discovery statement regarding

 6   Plaintiff/Counterdefendant LIV Golf, Inc.’s responses and objections to the TOUR’s

 7   Interrogatory No. 1 (“Exhibit A”). A provisionally redacted version of Exhibit A was filed on

 8   December 5, 2022 at Dkt. 171-1. This Administrative Motion was previously filed on December

 9   5, 2022, at Dkt. 170 and was denied without prejudice on January 26, 2023 with instructions that

10   it be corrected and re-filed by February 3, 2023, Dkt. 245.

11             Exhibit A contains information that the third party PGA of America has designated

12   “CONFIDENTIAL—ATTORNEY’S EYES ONLY” pursuant to the applicable Protective Order,

13   Dkt. 111, in this action. Specifically, the portions of Exhibit A subject to this Administrative

14   Motion include:

15
                                             Portions of Document               Parties Claiming
                  Document
16                                                to be Sealed                   Confidentiality

17        Dkt. 171-1                        14: 21-22                        PGA of America
18        Exhibit A to Joint                15: 1-2
          Discovery Statement
19
               A highlighted, unredacted version of the document sought to be partially sealed is
20
     attached to this Administrative Motion as Exhibit 1. The green highlighting identifies the
21
     information designated “CONFIDENTIAL—ATTORNEY’S EYES ONLY” by PGA of America,
22
     which is the subject matter of this Administrative Motion. The yellow highlighting identifies
23
     information designated “CONFIDENTIAL—ATTORNEY’S EYES ONLY” by the TOUR,
24
     which the TOUR has moved to seal in a separate, contemporaneously filed motion.
25
               The TOUR does not have an interest in the confidential treatment of the information
26
     subject to this Administrative Motion. The TOUR makes this request solely because the PGA of
27
     America has designated this information as confidential under the applicable Protective Order. In
28

                                                      1
                                ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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 1   compliance with its Protective Order obligations and the Civil Local Rules of this District, the

 2   TOUR is submitting under seal, along with this Administrative Motion, an unredacted copy of the

 3   document referenced above pursuant to Civil Local Rules 79-5(d)-(f).

 4
     Dated: February 3, 2023                                KEKER, VAN NEST & PETERS LLP
 5

 6                                                    By:   /s/ Elliot R. Peters
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                               ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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